      Case 1:25-cv-00887-RCL         Document 44-1         Filed 06/04/25    Page 1 of 5



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



MICHAEL ABRAMOWITZ et al.,

Plaintiffs,

v.
                                                           Civil Action No. 25-cv-0887
KARI LAKE, Senior Advisor to the Acting
CEO of U.S. Agency for Global Media, et al.,

Defendants.




DECLARATION OF LEILI SOLTANI

         I, LEILI SOLTANI, hereby make the following declaration pursuant to 28 U.S.C. §
 1746:
         1.   I have been serving in the role of Division Director at Voice of America’s Persian

service since 01/2021. I am currently assigned to serve as the head of newsroom for the Voice

of America. I base this declaration on knowledge and information I have gained in the course of

performing my official duties.

         2.   In that capacity, I have personal knowledge of, and direct involvement, in the

current broadcasting operations of the Voice of America.

         3.   Below please find the list of news activities currently being performed by the

Voice of America, within the scope determined by USAGM leadership and available resources.

The substance of all content being produced is decided solely by Voice of America staff. There

are currently 30 journalists within Central News and the four Language service who are in active

status, responsible for range of content, production and support services. Central News is the

part of VOA that streamlines and coordinates the four language services. The language services
     Case 1:25-cv-00887-RCL          Document 44-1        Filed 06/04/25      Page 2 of 5




are those groups of journalists currently providing news output in the Persian, Mandarin, Dari,

and Pashto languages.

        4.    In Central News, VOA is producing five web stories of 300 – 500 words in length

per day, five days each week. These stories focus on the main news of the day and stories of

interest to all language services. Each story is translated and posted on language service

websites. Stories are updated as needed. Central News additionally finds or creates images used

on all web stories and daily editorials. Central News also produces four to five short broadcast

scripts of 45 seconds of copy, five days per week, for use by language service radio shows. As

needed, Central News assists with video production.

        5.    The Persian Language Service, which produces news content for the Voice of

America in the Persian language, produces two daily TV news reports in Persian and English

each day, five days a week. Persian language videos are used by the Persian language service.

English language videos are distributed by Central News to other language services. Each video

is between two and four minutes long. The Persian Language Service additionally translates and

publishes one or two USAGM-produced editorials, depending on the number of editorials

provided by the Office of Editorials at USAGM, on the days that they are issued. The Persian

Language Service also writes or translates five to seven daily text news items. Content is posted

on the language service website or distributed through social media (Instagram, X, Facebook,

Telegram, and YouTube). For the week of May 26 – 30, the internet managing editor for the

Persian Language Service reported that the website recorded 743.6k visits, with 949.1k article

views and 27.8k video views. During the same time period, the internet managing editor for the

Persian Language Service reported that the Persian Language Service recorded 10.8k

engagements (defined as likes, shares, saves, clicks, mentions and comments) on Facebook,
     Case 1:25-cv-00887-RCL          Document 44-1        Filed 06/04/25      Page 3 of 5




392.7k engagements on Instagram, 3.6k engagements on X, and 18.2k engagements on

YouTube.

        6.    The Mandarin Language Service, which produces news content for Voice of

America in the Mandarin language, publishes five to nine news stories five days each week. It

also translates and publishes one or two USAGM-produced editorials, depending on the number

of editorials provided by the Office of Editorials at USAGM, on the days that they are published.

The Mandarin Language Service also produces one video news package, adapted from the video

packages produced by the Persian Language Service. Content is posted on the language service

website, or distributed through social media (Instagram, X, Facebook, Telegram, YouTube,

Threads, and WhatsApp). For the week of May 26 – 30, the internet managing editor for the

Mandarin Language Service reported that the website recorded 426.6k visits, with 566.5k article

views and 31.8k video views. During the same time period, the internet managing editor for the

Mandarin Language Service reported that the Mandarin Language Service recorded 1.9k

engagements on Facebook, 0.3k engagements on Instagram, 25.8k engagements on X, and 20k

engagements on YouTube.

        7.    The Dari Language Service, which produces news content for Voice of America

in the Dari language, produces a 2.5-minute radio show every day, five days per week. It also

produces at least seven web articles and one TV package – adapted from the video packages

produced by the Persian Language Service – every day, five days per week. It also translates and

publishes one or two USAGM-produced editorial daily, five days per week, depending on the

number of editorials provided by the Office of Editorials at USAGM. Stories are shared on social

media (Instagram, X and Facebook). Video packages are posted on the language service website

and social media (Instagram, X, Facebook, and YouTube). The radio show is distributed to four
     Case 1:25-cv-00887-RCL            Document 44-1           Filed 06/04/25   Page 4 of 5




FM Afghan radio affiliates and posted on Facebook along with graphics related to the story

subject matter. For the week of May 26 – 30, the internet managing editor for the Dari Language

Service reported that the website recorded 9.9k visits, with 7.5k article views and 0.5k video

views. During the same time period, the internet managing editor for the Dari Language Service

reported that the Dari Language Service recorded 26.2k engagements on Facebook, 2.1k

engagements on Instagram, 0.6k engagements on X, and 4k engagements on YouTube.

        8.    The Pashto Language Service, which produces news content for Voice of America

in the Pashto language, produces a 2.5-minutes radio show five days per week. It additionally

produces two original stories for web, translates five articles for web provided by Central News,

and versions one TV package – adapted from the video packages produced by the Persian

Language Service – five days per week. It also translates and publishes one or two USAGM-

produced editorials, depending on the number of editorials provided by the Office of Editorials

at USAGM, five days per week. In addition to radio, which is similarly distributed to four FM

Afghan radio affiliates, content is distributed via the language service website and on social

media (Instagram, X, Facebook, and YouTube). For the week of May 26 – 30, the internet

managing editor for the Pashto Language Service reported that the website recorded 13.4k visits,

with 9.5k article views and 1.3k video views. During the same time period, the internet

managing editor for the Pashto Language Service reported that the Pashto Language Service

recorded 53.5k engagements on Facebook, 0.3k engagements on Instagram, and 2k engagements

on YouTube. Engagement data for X during the above time period for the Pashto Language

Service is not available as of the time of this declaration.
    Case 1:25-cv-00887-RCL          Document 44-1        Filed 06/04/25      Page 5 of 5




      I declare under penalty of perjury that the foregoing is true and correct.

Dated: June 4, 2025
       Washington, District Columbia




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                                                  LEILI SOLTANI
